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                        Exhibit 1
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                              Exhibit A
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                                                                               Sensei Enterprises, Inc.
Philip E. DePue                                                        3975 University Drive, Suite 225
                                                                                     Fairfax, VA 22030
Assistant Director of Digital Forensics
                                                                              pdepue@senseient.com




Profile
Philip DePue is the Assistant Director of Digital Forensics at Sensei Enterprises, Inc. Mr. DePue
holds a degree in Digital Forensic Science with a minor in Criminal Justice from Defiance
College, Defiance Ohio. Mr. DePue is a GIAC Certified Forensics Analyst (GCFA), as well being
Comp TIA A+ certified. Before joining Sensei Enterprises, Mr. DePue worked with the Computer
Forensics Division of the Lima, OH Police department.

Qualified as an expert in the following courts:
Fairfax County Juvenile and Domestic Relations District Court, Virginia
Loudoun County Circuit Court, Virginia
King George County Circuit Court, Virginia
Montgomery County Circuit Court, Virginia
Charlottesville Circuit Court, Virginia
U.S. Navy and Marine Corps Trial Judiciary, Central Judicial Circuit
Fairfax County Circuit Court, Virginia
Wythe County Circuit Court, Virginia
Prince William County Circuit Court, Virginia
Jefferson County Circuit Court, West Virginia


Representative recent work:

      Testified as an expert (in digital forensics) State of West Virginia, Plaintiff v. Paul
       Raymond Sedlock, Defendant (2021, Charles Town, WV). Testified regarding mobile
       phone data and text message recovery.

      Testified as an expert (in digital forensics) in Casey D. Leslie, Plaintiff v. Michael A.
       Ramos, Defendant (2021, Manassas, VA). Testified regarding forensic analysis of media
       files and their metadata.

      Testified as an expert (in digital forensics) Commonwealth of Virginia, Plaintiff v.
       Anthony Edmonds, Defendant (2021, Wytheville, VA). Case involving possession of child
       pornography and analysis of web browser artifacts from a computer system.

      Expert Witness (in digital forensics) in Brightview Group, LP, Plaintiff v. Andrew M.
       Teeters, Ross T. Dingman and Monarch Communities LLC. Defendants (2020, Fairfax,
       VA). Forensic preservation and analysis was performed and deposition taken.
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      Testified as a fact witness in Brightview Group, LP, Plaintiff v. Andrew M. Teeters, Ross T.
       Dingman and Monarch Communities LLC. Defendants (2020, Fairfax, VA). Testified
       regarding steps taken to search webmail accounts and remove specified messages.

      Testified as an expert (in digital forensics) in Christopher Anderson v. Fairfax County
       Schools (2019, Falls Church, VA). Case involving potential computer and network policy
       violation.

      Testified as an expert (in digital forensics) in David L. Pierce, Plaintiff v. Open System
       Science of Virginia, Inc., Defendant, (2019, Fairfax, VA). Case involving web browser
       history, email communications and mobile devices.

      Testified as an expert (in digital forensics) in United States v. FCC Sean MacWhinnie,
       USN, (2019, Naval Station Norfolk, Norfolk, VA). Case involving social media data and
       network traffic logging.

      Testified as an expert (in digital forensics) in Commonwealth of Virginia, Plaintiff v.
       James Fields, Defendant (2018, Charlottesville, VA). Case involving analysis of data from
       a mobile phone.

      Testified as an expert (in digital forensics) in Commonwealth of Virginia, Plaintiff v. John
       Darrell Willard, Defendant (2018, Christiansburg, VA). Case involving possession of child
       pornography and analysis of web browser artifacts from a mobile phone.

      Testified as an expert (in digital forensics) in Robert Hays, Plaintiff v. Charity White,
       Defendant (2018, King George, VA). Case involving data extraction and recovery from a
       cell phone.

      Testified as an expert (in mobile phone forensics) in Cesar Tapia, Plaintiff v. Jamie
       Carrillo, Defendant (2018, Washington, DC). D.C. Department of Employment Services
       hearing involving data extraction and recovery from a cell phone.

      Testified as an expert (in digital forensics) in Sisira Kumara Kumaragamage Don, Plaintiff
       v. Tera International Group, Inc., et al, Defendants (2018, Leesburg, VA). Case involving
       email analysis.

      Testified as an expert (in digital forensics) in Robert Evan Ellis, Plaintiff v. Christine
       Michelle Ellis, Defendant (2018, Leesburg, VA). Case involving email analysis.

      Expert Witness (in digital forensics) in Knowledge Link, Inc. vs. Melanie Downie, et al.
       (2018, Fairfax, VA). Case involving data collected and searched from company server,
       laptop and email. Forensic analysis was performed and deposition taken.
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       Testified as an expert (in computer forensics) in Harold Scott Pio, Petitioner v. Tanya
        Leah Atkins, Respondent (2015, Fairfax, VA.). Case involving data from social media.




 Certifications/Credentials
 GIAC Certified Forensic Analyst                            2012-2021
 Cellebrite Certified Operator                              2018-2021



 Professional Experience
 Sensei Enterprises, Inc.                                                             2012-Present
 Fairfax, Virginia
 Assistant Director of Digital Forensics

 The responsibilities and experience surrounding the position of Assistant Director of Digital
 Forensics include, but are not limited to, the acquisition/preservation/analysis of electronic
 evidence, expert reporting/consulting as well as overseeing Sensei’s other forensic examiners
 as they complete these types of tasks. Specifically, Philip DePue, is responsible for the
 acquisition and analysis of various digital mediums, which are provided to Sensei Enterprises,
 Inc., for personal or legal matters, by attorneys, law enforcement, or individuals.


 Lima Police Department                                                             2012
 Lima, Ohio
 Digital Forensics Intern

 In the position of Digital Forensic Intern Mr. DePue was responsible for assisting in acquisition,
 review and analysis of various digital mediums related to cases being handled by the Lima Ohio
 Police Department.


 Education
 Defiance College                                                                   2008-2012
 Defiance, Ohio
 Bachelor of Science in Digital Forensic Science, Minor in Criminal Justice
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 SANS Institute                                                   2016
 Reston, Virginia
 FOR518 Mac Forensic Analysis

 Cellebrite                                                       2017
 Parsippany, NJ
 Cellebrite Mobile Forensics Fundamentals – Online


 Cellebrite                                                       2018
 Parsippany, NJ
 Cellebrite Certified Operator (CCO) – Online

 SANS Institute                                                   2020
 Reston, Virginia
 FOR500 Windows Forensics Analysis
